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 6
 7     Attorneys for Plaintiffs
 8
 9
10                         UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
11
12
        REX SCHELLENBERG,                       Case No.: 2:20−cv−01313−MWF−JC
13
                                                [PROPOSED] ORDER RE:
14                                PLAINTIFF,    DISMISSAL PURSUANT TO
                                                SETTLEMENT AND RETENTION
15                         vs.                  OF JURISDICTION FOR 60 DAYS
                                                TO COMPLETE ALL
16      CITY OF LOS ANGELES, et al.,            SETTLEMENT TERMS
17                                DEFENDANTS.
18
                                                Date: March 14, 2022
                                                Time: None.
19                                              Ctrm: 5A

20                                              ACTION FILED: 2/10/20

21                                              TRIAL: VACATED

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          [PROPOSED] ORDER RE NOTICE OF DISMISSAL PURSUANT TO SETTLEMENT AND
                         RETENTION OF JURISDICTION FOR 60 DAYS
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 1          The parties previously advised the Court that they reached a tentative
 2    settlement that required approval by the Los Angeles City Claims Board. The
 3    Claims Board considered and approved the settlement on March 7, 2022.
 4          The parties have now executed the Settlement Agreement. A true and correct
 5    copy of the Settlement Agreement executed by all parties is attached as Exhibit A.
 6          To permit the terms of the settlement to be fulfilled, the parties request that
 7    the Court enter an order dismissing the action with jurisdiction retained for a period
 8    of 60 days. If the settlement terms are fulfilled prior to 60 days, Plaintiffs will notify
 9    the Court.
10
11    Dated: March 14, 2022                    Respectfully submitted,
12
                                               Law Office of Carol A. Sobel
13
14                                             /s/ Carol A. Sobel
                                               By: CAROL A. SOBEL
15
                                               Attorneys for Plaintiffs
16
17
      Dated: March 14, 2022                    Michael N. Feuer, City Attorney
                                               Scott Marcus, Chief Asst. City Attorney
18                                             Gabriel Dermer, Asst. City Attorney
19                                             Felix Lebron, Dep. City Attorney
20                                                /s Felix Lebron
21                                             By: FELIX LEBRON
                                               Attorneys for Defendants
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                      NOTICE OF DISMISSAL PURSUANT TO SETTLEMENT
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                       EXHIBIT A
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                                                                          COLA DRAFT 03-03-22

                 SETTLEMENT AGREEMENT AND GENERAL RELEASE

         This SETTLEMENT AGREEMENT AND GENERAL RELEASE (the “Agreement”)
 is made and entered into as of this 10th day of March 2022, by and among the CITY OF LOS
 ANGELES, a municipal corporation existing under the laws of the State of California (the “City”)
 and REX SCHELLENBERG (the “Plaintiff”). The City and Plaintiff will sometimes be each
 referred to as a “Party” or, collectively, the “Parties.”

                                            RECITALS

 A. WHEREAS, on or around February 10, 2020, Plaintiff filed a lawsuit against the City and Los
 Angeles Police Department (“LAPD”) Senior Lead Officer Sean Dinse (“Dinse”) alleging that the
 City seized and impounded Plaintiff’s vehicle on or around April 25, 2019 and July 22, 2019 in
 violation of the Fourth and Fourteenth Amendments of the United States Constitution, Article I,
 Sections 7 and 13 of the California Constitution, and California Civil Code Section 52.1 (Bane
 Act) in the United States District Court, Central District of California, Case No. Case No. 2:20-
 cv-01313-MWF-JC (the “Action”).

 B. WHEREAS, the City and Dinse expressly deny all claims alleged in the Action and further
 deny that the City, Dinse, and any of the City’s officers, employees, agents and persons acting on
 its behalf violated any laws or committed any wrongful acts or omissions against the Plaintiff as
 alleged in the Action;

 C. WHEREAS, the Parties desire to fully and finally compromise and settle all claims arising out
 of or relating to all matters alleged or that could have been alleged in the Action, without any
 admission of fault, liability or wrongdoing, in the interests of avoiding the additional expense and
 the inherent uncertainties of further litigation upon the terms and conditions set forth in this
 Agreement.
                                           AGREEMENT

 NOW, THEREFORE, in consideration of the foregoing recitals and the mutual covenants and
 promises contained herein and for other good and valuable consideration, the receipt and
 sufficiency of which are hereby acknowledged, the Parties hereby agree as follows:

    1.      SETTLEMENT PAYMENT. The City shall pay a total amount of $75,000.00, which
            shall be inclusive of any and all claims for damages, attorneys’ fees, or costs claimed
            by Plaintiff in the Action (“Settlement Sum”). Plaintiff’s counsel shall provide a
            completed and signed Form W-9 to the City upon execution of this Agreement and the
            City shall issue payment of the Settlement Sum in the form of a check made payable to
            the Law Office of Carol A. Sobel Client Trust Account within thirty (30) days of the
            Effective Date of this Agreement.

    2.      POLICY REVIEW. The City shall review the LAPD policies and procedures relating
            to towing and evaluate any changes or additional directives to be made addressing pe-
            deprivation due process requirements and the towing of vehicles for expired
            registration under California Vehicle Code § 22651(o).



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                                                                        COLA DRAFT 03-03-22

    3.    DISMISSAL OF ACTION WITH PREJUDICE. Plaintiff shall file a dismissal of the
          entire Action with prejudice within ten (10) business days of the Effective Date of this
          Agreement.

    4.    GENERAL RELEASE. Except for the rights and obligations set forth in this
          Agreement, the following release shall become effective as of the Effective Date of this
          Agreement for and in consideration of the covenants and promises set forth herein:

           a. The undersigned Plaintiff to this Agreement, on behalf of himself, and his
              respective heirs, spouses, trustees, successors, assigns, agents, representatives,
              attorneys, employees, officers, directors, shareholders, members, managers,
              principals, partners, insurers, and predecessors does hereby forever release,
              acquit, and discharge the City, Dinse, and all of the City’s boards, bureaus,
              departments, administrators, officers, elected officials, agents, employees, and all
              persons that acted on behalf of the City (collectively the “City Released Parties”)
              from any and all claims, demands, actions, causes of action, suits, covenants,
              settlements, contracts, agreements, and liabilities for personal injuries, property
              damage, loss, cost or expense of every nature whatsoever, whether known or
              unknown, contingent or otherwise, at law or in equity, and whether or not
              expected to exist (the “Claims”) which the undersigned Plaintiff to this
              Agreement had, have or may have against the City Released Parties, and each of
              them, arising out of or related to the Action, and any allegations, events,
              transactions or occurrences that were alleged or that could have been alleged
              therein (the “City Released Claims”).

           b. The undersigned Plaintiff to this Agreement further acknowledges and agrees
              that, as to the City Released Claims, Plaintiff waives and relinquishes the
              provisions of any protection under Section 1542 of the California Civil Code,
              and/or any similar law, either federal or of any state or territory of the United
              States or statute or applicable law anywhere existing. Plaintiff acknowledges and
              agrees that he understands the meaning of California Civil Code Section 1542,
              which provides as follows:

               A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT THE
               CREDITOR OR RELEASING PARTY DOES NOT KNOW OR SUSPECT
               TO EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING
               THE RELEASE AND THAT, IF KNOWN BY HIM OR HER, WOULD
               HAVE MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH
               THE DEBTOR OR RELEASED PARTY.

           c. The undersigned Plaintiff to this Agreement expressly acknowledges that he
              understands the significance and consequence of such specific waiver of Section
              1542 as applied to the City Released Claims.

    5.    EFFECTIVE DATE. The Parties understand and agree that the terms memorialized in
          this Agreement are subject to final approval by the City and its officers, boards,
          commissions, or entities. As used herein, the “Effective Date” of this Agreement
          means the date on which all of the following has occurred: (i) the City has obtained all
          such City approvals needed to make this Agreement final and binding; and (ii) the
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          Parties have each signed and exchanged duly executed copies of this Agreement.

    6.    NO RELIANCE. Except as expressly set forth herein, the Parties are not entering into
          this Agreement in reliance upon any express or implied warranty, representation,
          agreement, or understanding of any kind made by, or entered into by, the Parties or any
          of their respective Affiliates. The Parties expressly acknowledge and agree that they
          have each relied upon their own information and investigations as to all matters agreed,
          represented, warranted, or acknowledged herein, and the Parties do not have any desire
          for further information or for further investigation.

    7.    INTEGRATION. This Agreement supersedes any and all other agreements,
          understanding or representations, either oral or in writing, with respect to the matters
          addressed herein. This Agreement sets forth the entire agreement of the Parties hereto
          with respect to such matters.

    8.    AMENDMENTS. The Parties hereto agree that this Agreement shall only be amended
          by written instruments executed by the Parties.

    9.    ADVICE OF COUNSEL. In entering this Agreement, the Parties represent that they
          have had the opportunity to seek the advice of an attorney of their own choice, to review
          and explain the terms of this Agreement, and/or that they have voluntarily and willingly
          waived such right having read and understood the Agreement on their own behalf.

    10.   COMPLIANCE. Each of the Parties intends to, and hereby warrants and represents
          that they will, comply faithfully with its obligations under this Agreement in order that
          each Party receives the full benefit of its bargains under this Agreement, each provision
          of which is agreed to be important and material to the Parties. Each of the Parties
          understands that the other Party is relying upon such faithful compliance, and that the
          other Party would not execute this Agreement if they knew that the other Party had any
          such reservations or objections, and each of the Parties wishes to induce the other Party
          to rely upon and expect to receive and enjoy each of the rights and remedies specified
          in this Agreement.

    11.   GOVERNING LAW. This Agreement shall be construed in accordance with the laws
          of the State of California. If any action is filed to enforce or interpret any of the terms
          or provisions of this Agreement, the Parties agree that this Agreement is to be
          performed in the County of Los Angeles, State of California.

    12.   SEVERABILITY. If any provision of this Agreement shall for any reason be
          determined by a court of competent jurisdiction (sustained on appeal, if any) to be
          unenforceable in any respect, the remainder of this Agreement shall remain unaffected
          and in full force and effect.

    13.   COUNTERPARTS. This Agreement may be executed in any number of counterparts.
          Any such counterpart, when executed, shall constitute an original of this Agreement,
          and all such counterparts together shall constitute an original of this Agreement, and
          all such counterparts together shall constitute one and the same Agreement. Any
          photocopied, faxed or emailed version of this Agreement bearing one or more authentic
          signatures shall be valid, binding and admissible for all purposes as though original.
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                                                                                   COLA DRAFT 03-03-22

      14.    FURTHER ASSURANCES . Each Party agrees to make, execute and deliver such
             other instruments or documents. and to do or cause to be done such further or additional
             acts, as reasonably may be necessary in order to effectuate the purposes or to implement
             the terms of this Agreement.
      15.    BINDING. This Agreement shall be binding upon and inure to the benefit of the
             Parties, their heirs, successors, assigns and Affiliates.

      16.    NO THIRD-PARTY BENEFICIARIES.                     There are no intended third-party
             beneficiaries that may assert rights or defenses under this Agreement, except the Parties
             to this Agreement and Dinse.

      17.    WAIVER. No waiver of any provision of this Agreement shall be effective unless such
             waiver is in writing and signed by the waiving Pa1ty, and any such waiver shall not be
             deemed a waiver of any other provision of this Agreement.

      18.    NO ADMISSION OF LlABILITY. This Agreement is in compromise of disputed
             claims, and neither the execution and delivery of this Agreement, nor the performance
             of any obligations thereunder, shall be construed as an admission of liability or wrong
             doing or as an admission ofany other matter on the part of any of the Parties, Dinse, or
             any of them.

      19.    CONSTRUCTION. This Agreement shall not be construed against any of the Parties
             and the rule of construing contract ambiguities against the party drafting the contract
             shall be inapplicable.

      20.    EFFECT OF HEADJNG. The headings used in this Agreement are for convenience
             only and shall not affect the construction or interpretation this Agreement.

   [N WITNESS WHEREOF, the Pat1ies hereto have caused this Agreement to be duly executed and
   delivered as of the date first above written.


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                                                 Revlewed and approved   as lo fonn

                                                 Carol A. Soiyl
                                                 Law Office of Carol Sobel
                                                 Counsel for Plaintiff Rex Schellenberg
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